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                        Exhibit 9
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     Notice on the Results of the Report of the Preliminary Investigation on the Formation of
     Unknown Impurities Resulting from the Sodium Azide Quenching in Crude lrbesartan

      Jinsheng LIN

      To: Jucai GE, Tianpei HUANG, Wangwei CHEN, Wenquan ZHU, Wenbin CHEN, Mr. Li, Peng DONG, Lihong LIN,
      Yanfeng LIU, Peng WANG, Wenling ZHANG           07/27/2017 Detailed Info rmation

      Valsartan Impurity K.pdf (846 KB)

      Ms.Ge:

      According to t he results of our telephone communication w ith the Technology Department of Chuannan Plant 1
      today, due to t he incomplete quenching of sodium azide caused by the separate treatment of irbesartan sodium
      azide wastewater, t here is t he frequent occurrence of muffled explosion in t he production process, so the
      Technology Department carried out t he technical improvement by which the sodium azide quenching takes
      place in t he unstratified step in t he crude irbesartan process. However, after the improvement, there is an
      unknown impurity of about 0.544% at 26 minutes in the crude irbesartan, and it is t he largest impurity in the
      irbesartan crude product.




                                                                                                           Min Li

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      Through the secondary mass spectrometry analysis, it can be infe rred that the extra NO substit uent is in t he
      cyclic compound fragment, and it is very likely that it is an N-NO compound; it is s imilar to the N-
      nit rosodimethylamine that occurs in valsartan when quenched with sodium nitrite, and its structure is very
      toxic. Its possible formation route is s hown as follows :




      In o rder to further ve rify the structure of the impurity and its formatio n mechanism, we plan to s imulate t he
      quenching conditio ns a nd use the fi nished lrbesartan product to react with NaNO2 a nd HCI to monitor the
      impurity produced by t he reaction, a nd then separate it for NMR fo r fi nal structural verification, while
      s imulta neously carrying out the confirmatio n of t he impurity by multi-stage MS.

      If it is confirmed as the above speculated structure, then its toxicity will be very strong, and t here will be an
      extremely high GMP risk. This is a common problem in the production a nd synthesis of sartan APls. It is
      recommended to improve other que nching processes (such as NaCIO) along with the optimization of the
      valsartan sodium azide quenching process.

      I've also attached a patent of a 2013 sodium azide NaCIO quenching method by Zhejia ng Second Pharma Co.,
      Ltd. t hey proposed that t he use of Na NO2 quenching will result in the formation of N-NO impurit ies. At t he
      same time, they used ZHP's crude Valsartan in their LC-MS test and detected this impurity. This indicates that
      other companies have paid atte nt ion to the quality problem very earl y on. So leaders please pay attention to
      t his issue.

      Jinsheng LI N

      CEMAT

      2017/07/27




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